UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE JANE A. RESTANI, SENIOR JUDGE


MITZI INTERNATIONAL                                             |
                                                                |
                                 Plaintiff,                     |   Court No. 01-00879
                                                                |
                         v.                                     |
UNITED STATES,                                                  |
                                                                |
                                 Defendant.                     |



                                          STATUS REPORT

          This status report is provided in response to the Court’s February 12, 2021 order in

connection with the captioned case, which had been suspended under the A.D. Sutton & Sons v.

United States (Court No. 03-00510) test case that has become final.

          Since the filing of the last status report, the parties have reached a settlement in principle

and are in the process of drafting appropriate settlement language. The parties reasonably

believe that a settlement agreement will be reached that will avoid the need for litigation in this

matter.

          The parties respectfully request an additional 60-day extension of time until June 14,

2021 to update the court.

          The parties certainly understand if the Court wishes to have an in-court status conference

on these issues and they would certainly make themselves available for such a conference.




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However, if the Court is satisfied with this report regarding the status of the parties’ efforts to

settle these cases, the parties offer the attached proposed order in these cases in lieu of an in-

court status conference. Counsel for Defendant concurs with this status report.


                                                       Respectfully submitted,

                                                       SIMON GLUCK & KANE LLP
                                                       Attorneys for Plaintiff
                                                       535 Fifth Avenue, 4th Floor
                                                       New York, New York 10017
                                                       Tel: 212-775-0055
                                                       dgluck@customs-law.com

                                                       /s/ Daniel J. Gluck
                                                       DANIEL J. GLUCK


Dated: April 13, 2021
       New York, New York




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